Case 2:05-cv-04182-SRD-JCW Document 1405-10 Filed 10/23/06 Page 1 of 7

Exhibit 10
Case 2:05-cv-04182- >-SRD- JCW Document 1405-10 Filed 10/23/06 Page 2 of 7
Case 2:05-cv- -04182-SRD-JCW Document 788 Filed 07/19/2006 Page 1 of 36

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

COLLEEN BERTHELOT, ET AL., oe CIVIL ACTION
VERSUS NO. 05-4182
BOH BROTHERS CONSTRUCTION CO., SECTION "K"(2)

L.L.C., ET AL. CONS. KATRINA CANAL

PERTAINS TO: O'Dwyer 05-4181

ORDER AND REASONS

Before the Court are the following motions that were filed in O'Dwyer, et al. v. The United

States of. America, et al., C.A. 05-4181:

Doc. 104 Motion to Dismiss for Want of Standing or, Alternatively Pursuant to FRCP
. 12(b)(1), FRCP 12(b)(6) and FRCP 11(b)(2) with Incorporated Memorandum
in Support Thereof filed by the City of New Orleans, the Honorable C. Ray

Nagin, Mayor, and Former Superintendent of Police Edwin Compass, III’

Doc. 105 Motion to Dismiss Pursuant to F.R.C.P. 12(b)(6) filed by Kimberly,
Williamson Butler, in her individual capacity.

Doc.110 Amended Motion to Dismiss Pursuant to , R.C.P. 12(b)(6) filed by Kimberly
Williamson Butler, in her individual and official capacity

Doc. 106 "Motion to Dismiss Defendant Governor Kathleen Blanco
Doc. 107 Motion to Dismiss Defendant State of Louisiana
‘Doc. 108 United States' Motion to Dismiss
Doc. 109 Motion to Dismiss on Behalf of Eddie J ordan, Individually and in his Elected

Capacity as the District Attorney for the Parish of Orleans, State of
Louisiana.

The City of New Orleans also filed a subsequent Motion to Dismiss for Failure to State a Claim (Doc. 200)
with respect to the following cases: C.A. No. 05-6327, 05-6073, 05-5237, and 05-6314. The Court will address this
other motion in a subsequent order; this ruling is intended as an ddjudication as to the issues contained in the
O'Dwyer matter.
Case 2:05-cv-04182-SRD-JCW Document 1405-10 Filed 10/23/06 Page 3 of 7
Case 2:05-cv-04182-SRD-JCW Document 788 _ Filed 07/19/2006 Page 12 of 36

Various Federal Statutes:
Plaintiffs’ wholesale list of federal jurisdictional grounds borders on the absurd, and the
Court will address these at this time. Federal courts are duty-bound to examine the basis of subject
matter jurisdiction. Union Planters Bank National Assoc. v. Salih, 369 F.3d 457 (5" Cir. 2004)
' citing Steel Co. v. Citizens for a Better Env't., 523 U.S. 83, 94-95 (1998). As this Court has
previously noted, as stated in Wright & Miller, Federal Practice and Procedure, § 1210:
As is true in the case of pleading a federal question under Section 1331, the
_ entirety of the complaint must support the jurisdictional allegation in a case based
ona claim arising under a special federal question statute. Enough should be alleged
in the statement of the claim to show that the action does arise under the statute on
which it purports to be based. Indeed, it is these statements in the body of the
pleading that give the district court subject matter jurisdiction and not the mere
conclusory reference to or recitation of a federal statute in the jurisdictional
allegations. ,
Id. at 146.
' With this context in mind, the Court will now address the above-noted jurisdictional listing
contained in this matter and dispose of the blatantly unsupported allegations. This litany of statutes

for which no factual underpinning is provided will not be allowed to stand; as such, the Court finds

counsel's action herein verging on sanctionable under Fed. R. Civ. P. 11.

a. The Oil Pollution Act of 1990("OPA"), 33 U.S.C. § 2701
This statute pertains only to the discharge, or threatened discharge of oil upon navigable
waters of the United States or adjoining shorelines. OPA imposes liability for the recovery cost and _
damages that result from an oil spill on:
ee each responsible party for a vessel or a facility from which oil is discharged, or

which poses the substantial threat of a discharge of oil, into or upon the navigable
water or adjoining shore line or the exclusive economic zone.

12
Case 2:05-cv-04182-SRD-JCW Document 1405-10 Filed 10/23/06 Page 4 of 7
Case 2:05-cv-04182-SRD-JCW Document 788 Filed 07/19/2006 Page 13 of 36

33 U.S.C. § 2701. The statute further requires the all claims for removal costs or damages shall be

. presented first to the responsible party or guarantor of the source. 33 U.S.C. § 2713(a). A claim

under OPA is a "request, made in writing for a sum certain, for compensation for damages, or
removal causes or resulting from an incident." 33 U.S.C. § 2701(3). The presentation of a claim

is a mandatory condition precedent to filing a private lawsuit under OPA. Boca Cigea Hotel, Inc.

" y, Bouchard Trans. Co. Inc. , 51 F.3d 235 (1 i" Cir. 1995). As such, this jurisdictional claim has no

merit as this prerequisite has not been fulfilled. Furthermore, the statute does not contemplate the

harm alleged herein—-damages resulting from a natural disaster and catastrophic occurrence.

b. The Comprehensive Environmental Response Compensation and
Liability Act ("CERCLA"), 42 U.S.C. § 9601, et seq.

CERCLA's primary purpose is to facilitate the prompt clean up of hazardous waste sites by
placing the ultimate financial burden on those responsible for creating the harmful condition ata
waste site. Cooper v. Armstrong Rubber Company, 1989 WL 60338 (S. D. Miss. 1989). This statute
clearly has no bearing on the factual underpinnings of this suit with respect to any of the named

defendants and shall be dismissed.

ec. _ The Federal Water Pollution Control Act ("FWPCA")33 U.S.C. § 1365
and the Clean Water Act ("CWA"), 33 U.S.C. § 1251

These statutes prohibit the discharge of pollutants. To that end, the CWA establishes a
permit system and prohibits any discharge without authorization by permit. 33 U.S.C. §§1311(a);
1342. Cooper, at * 11, n. 2. A private right of action for citizens is provided for under the CWA at

33 U.S.C. § 1365(a) to sue for the violation of an effluent standard or limitation under the statute.

13 -
Case 2:05-cv-04182-SRD-JCW Document 1405-10 Filed 10/23/06 Page 5 of 7
Case 2:05-cv-04182-SRD-JCW Document 788 Filed 07/19/2006 Page 14 of 36

The CWA requires a 60 day notice of the alleged violation under the CWA to the Administrator of
the EPA, the state in which the alleged violation occurred, and to any alleged violator. 33 U.S.C.
§ 1365(b)(1)(A). To begin, it appears to this Court that this law is not designed to address the facts
of the case at hand. This statute addresses on-going pollution concerns, not the alleged results of
catastrophic flooding. Furthermore, there are no allegations that the required notice has been
provided as has been found to be a condition precedent to jurisdiction. Cooper, at 4. As such, this -

jurisdictional allegation shall be dismissed.

da. The Clean Air Act

' Like the WPA, this statue addresses violations of federal emission standards. It may not be
utilized to address wholly past violations of the Act, and it contains a sixty-day notice provision like
that found in the WPA. As such, for the same reasons noted above, this jurisdictional invocation

shall be dismissed.

e. National Environmental Policy Act of 1969, 42 U.S.C. § 4321, et seq.

"The fundamental purpose of NEPA 'is to compel federal decision makers to consider
the environmental consequences of their actions." Atlanta Coalition on the Transportation Crisis,
Inc. v. Atlanta Regional Commission, 599 F.2d 1333 (5" Cir. 1979) citing McGarity, The Courts,
the Agencies, and NEPA Threshold Issues, 55 Tex. LRev. 801, 804 (1977). Congress did not
intend NEPA to apply to state, local, or private actions hence, the statute speaks only to "federal

agencies" and requires impact statements only as to "major federal actions. Jd. In other words, this

14
Case 2:05-cv-04182-SRD-JCW Document 1405-10 Filed 10/23/06 Page 6 of 7
Case 2:05-cv-04182-SRD-JCW Document 788 Filed 07/19/2006 Page 15 of 36

provision concerns the reqilirement of a federal agency to issue an environmental impact statement.

The Court is at a loss as to how this statute would provide jurisdiction over any defendant save a
United States agency and furthermore, has not been enlightened by plaintiffs’ pleadings how this
statute was violated. There are no allegations that an Environmental Impact Statement was not

rendered. Accordingly, this allegation shall be dismissed.

f. The Toxic Substances Control Act ("TOSCA"), 15 U.S.C. § 2601, et seq.
This statute is designed to regulate the manufacture, distribution, sale, use and disposal of

chemical substances which present an unreasonable risk of injury to health or environment. Cooper,

at *6 citing 15 U.S.C. § 2605. Again, the 60-day notice is applicable to this statute. As stated in

Cooper:
Additionally, the citizen-suit provision of TOSCA only permits suits against any
person "who is alleged to be in violation" of the Act. Consistent with the Supreme
Court's interpretation of that phrase in Gwaltney, 108 S. Ct. 376, this action-one for
"wholly past" violations—may not be maintained. See Brewer v. Raven, 680 F. Supp.
1176, 1184 (M.D.Tenn. 1988) (relief available only for "ongoing violations of
TOSCA). oO

Id. Accordingly, the allegations based on TOSCA shall be dismissed.

g. The Resource Conservation and Recovery Act ("RCRA"), 42 U.S.C. §
6901, et seq.

This statute governs "the disposal of solid waste" and does allow actions for past violations.
The statute authorizes suit against "any past or present generator, past or present transporter, past
or present owner or operator of a treatment, storage or disposal facility who has contributed or is

contributing to the past or present handling, storage, treatment, transportation or disposal or any

- 15
Case 2:05-cv-04182-SRD-JCW Document 1405-10 Filed 10/23/06 Page 7 of 7
Case 2:05-cv-04182-SRD-JCW Document 788 _ Filed 07/19/2006 Page 16 of 36

solid or hazardous waste which may present an imminent and substantial endangerment to health
or environment." 42 U.S.C. § 6972(a)(1)(B). The case at bar concerns the damages caused by the
preparation for and the aftermath of Hurricane Katrina. This statute simply does not address the

kinds of harm alleged in this suit and shall be dismissed.

h. Louisiana Environmental Laws
Plaintiffs invoke as a basis for jurisdiction "The Louisiana Environmental Quality Act, the
Louisiana Air Control Act, The Louisiana Water Control Law and the Louisiana Oil Spill Prevention

and Response Act" without further explication or citation. The Court has been provided no specific

factual allegations or arguments as to how these laws were violated. Louisiana statutes would not

provide federal jurisdiction unless the Court would exercise its supplemental jurisdiction under 28
U.S.C. § 1367. The Court will address supplemental jurisdiction at the conclusion of this opinion.
The Court must remind counsel that as a practicing attorney, this kind of buckshot pleading

will not be permitted. Counsel is hereby put on notice that any further barrage of meaningless and

vituperative rantings and attachment of newspaper clippings to pleadings as "proof" is a waste of

this Court's resources. . This Court takes its duty to adjudicate the claims of plaintiffs against

defendants arising out of Hurricane Katrina as a solemn and weighty duty; pleadings filed in the

‘nature of those by counsel in O'Dwyer belie the seriousness of this matter and frankly make a

mockery of the Court's duties to justice and application of the law.
- Thus, what remains as a viable basis for federal question jurisdiction with respect to the
parties under consideration in this opinion are the allegations of constitutional violations brought

against the state actors pursuant to the Fourteenth Amendment and 42 U.S.C. § 1983, 1985, 1986

16-
